         Case 2:99-cr-00424-WBS Document 222 Filed 09/02/05 Page 1 of 2

                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF CALIFORNIA

                                     MEMORANDUM


Honorable William B. Shubb
United States District Judge
Sacramento, California

                                          RE:    Josephine FRANEY
                                                 Docket Number: 2:99CR00424-06
                                                 REQUEST TO TRAVEL OUT OF THE
                                                 CONTINENTAL UNITED STATES


Your Honor:


Josephine Franey was sentenced by Your Honor on May 21, 2003, to a 32-month term of
imprisonment following her conviction for violation of 21 USC 843(b) - Use of a Communication
Facility. On September 24, 2004, she was released from custody to a 12-month term of
supervised release. She is being supervised in the District of Nevada.

Franey seeks permission from the Court to travel outside of the continental United States,
specifically LaCruz, Mexico, between December 6 and 15, 2005. The purpose of her travel is
for a family vacation. The supervising probation officer in the District of Nevada does not object
to Franey traveling to Mexico at that time. She is current with all obligations and has complied
with all conditions of supervision.




                                                                                            Rev. 02/2002
                                                                                       C H A R -R E F .M R G
         Case 2:99-cr-00424-WBS Document 222 Filed 09/02/05 Page 2 of 2

Honorable William B. Shubb                                           Re: Josephine Franey
August 31, 2005
Page 2


The probation office in this district recommends that her request to travel to Hawaii be approved.
If you wish to discuss this request further, please contact me at (916) 930-4318.

                                    Respectfully submitted,


                                   /s/ karen a. meusling
                                  KAREN A. MEUSLING
                        Supervising United States Probation Officer


cc:    Mary L Grad
       Assistant United States Attorney

       Linda Harter
       Assistant Federal Defender


_________________________________________________________________________

ORDER OF THE COURT:

Approved _X_

September 1, 2005




                                                                                            Rev. 02/2002
                                                                                       C H A R -R E F .M R G
